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                Exhibit B
                                                Earliest Known Age-Based State Restrictions on the Use or Purchase of Firearms

State                Year1       Statutory Text                                                              Source                               State Right to Bear Arms Provision,
                                                                                                                                                  and When Enacted2

Alabama              1856        Section 1 Be it enacted by the Senate and House of Representatives of       An Act to Amend the Criminal         “That every citizen has a right to bear
                                 the State of Alabama in General Assembly convened, That any one who         Law, No. 26, § 1, 1856 ALA.          arms in defense of himself and the
                                 shall sell or give or lend, to any male minor, a bowie knife, or knife or   ACTS 17, 17.                         state.” ALA. CONST. art. I, § 27
                                 instrument of the like kind or description, by whatever name called, or                                          (1819).
                                 air gun or pistol, shall, on conviction be fined not less than three
                                 hundred, nor more than one thousand dollars.

Alaska               1978        Sec. 11.61.220. Misconduct Involving Weapons in the Third Degree.           An Act revising the criminal laws    “A well-regulated militia being
                                 (a) A person commits the crime of misconduct involving weapons in the       of the state, changing Rule 35 of    necessary to the security of a free
                                 third degree if he. . . (3) being an unemancipated minor under 16 years     the Alaska Supreme Court’s           state, the right of the people to keep
                                 of age, possesses a firearm without the consent of his parent or            Rules of Criminal Procedure; and     and bear arms shall not be infringed.”
                                 guardian.                                                                   providing for an effective date,     ALASKA CONST., art. I, § 19 (1959).
                                                                                                             ch. 166, § 11.61.220(a)(3), 1978
                                                                                                             ALASKA SESSION LAWS AND
                                                                                                             RESOLVES, SECOND SESSION 1,
                                                                                                             68.
Arizona              1883        Any person who shall sell or give to any minor under the age of             An Act to prohibit the sale of toy   “The right of the individual citizen to
                     [1912]      fourteen years, or to any person for the use of such minor, any firearms,   pistols or firearms to minors, No.   bear arms in defense of himself or the
                                 or toy pistols from which dangerous and explosive substances may be         71, §§ 1-2, 1883 ARIZ. LAWS          State shall not be impaired, but
                                 discharged, shall be deemed guilty of a misdemeanor.                        178, 178-79.                         nothing in this section shall be
                                                                                                                                                  construed as authorizing individuals
                                                                                                             SAMUEL L. PATTEE, ED., THE           or corporations to organize, maintain,
                                                                                                             REVISED STATUTES OF ARIZONA:         or employ an armed body of men.”
                                                                                                             PENAL CODE 85 (1913).                ARIZONA CONST. art. II, § 26 (1912).

                                                                                                             (Although the Act was passed in
                                                                                                             1883, Arizona was not admitted
                                                                                                             as a State until 1912. The text is
                                                                                                             taken from the code.)



   1
       The year of enactment has been provided wherever known. If the year of enactment is unknown, the date provided is the year of first codification, and is asterisked.
   2
       See Eugene Volokh, State Constitutional Rights to Keep and Bear Arms, 11 TEXAS REV. OF LAW & POLITICS 191, 193-204 (2006).
                                                                                                                                                                                            Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 2 of 22 PageID #: 120




                                                                                           1
Arkansas     1975   (1) A person commits the offense of furnishing a deadly weapon to a          An Act to Reform, Revise, and        “The citizens of this State shall have
                    minor when he sells, barters, leases, gives, rents or otherwise furnishes    Codify the Substantive Criminal      the right to keep and bear arms, for
                    a firearm or other deadly weapon to a minor without the consent of a         Law of the State of Arkansas, and    their common defense.” ARK. CONST.
                    parent, guardian, or other person responsible for general supervision of     for Other Purposes, No. 280,         art. II, § 5 (1874).
                    his welfare.                                                                 § 3109, 2 ARK. GENERAL ACTS
                                                                                                 500, 697 (1975).

                    (2) Furnishing a deadly weapon to a minor is a class A misdemeanor.

California   1923   Sec. 5. Except as otherwise provided in this act, it shall be unlawful for   An act to control and regulate the   None
                    any person within this state to carry concealed upon his person or within    possession, sale and use of
                    any vehicle which is under his control or direction any pistol, revolver     pistols, revolvers and other
                    or other firearm capable of being concealed upon the person without          firearms capable of being
                    having a license to carry such firearm as hereinafter provided in section    concealed upon the person; . . .
                    eight hereof. Any person who violates the provisions of this section         ch. 339, § 5, 1923 CAL.
                    shall be guilty of a misdemeanor, and if he has been convicted               STATUTES 695, 697.
                    previously of any felony, or of any crime made punishable by this act,
                    he is guilty of a felony.

                    This section shall not be construed to prohibit any citizen of the United
                    States, over the age of eighteen years, who resides or is temporarily
                    sojourning within this state, and who is not within the excepted classes
                    prescribed by section two hereof, from owning, possessing or keeping
                    within his place of residence or place of business any pistol, revolver or
                    other firearm capable of being concealed upon the person, and
                    no permit or license to purchase, own, possess or keep any such firearm
                    at his place of residence or place of business shall be required of any
                    such citizen.

Colorado     1993   Except as provided in this section, it is unlawful for any person who has    An Act concerning the                “The right of no person to keep and
                    not attained the age of eighteen years knowingly to have any handgun in      commission of criminal acts by       bear arms in defense of his home,
                    such person’s possession.                                                    juveniles, and making an             person and property, or in aid of the
                                                                                                 appropriation in connection          civil power when thereto legally
                                                                                                 therewith, ch. 1, § 2, 1993 COLO.    summoned, shall be called in
                                                                                                 LAWS 1, 2.                           question; but nothing herein contained
                                                                                                                                      shall be construed to justify the
                                                                                                                                      practice of carrying concealed
                                                                                                                                      weapons.” COLO. CONST. art. I, § 13
                                                                                                                                      (1876).
                                                                                                                                                                               Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 3 of 22 PageID #: 121




                                                                               2
Connecticut   1923   Sec. 8. No person shall make any false statement or give any false              An Act concerning the                 “Every citizen has a right to bear arms
                     information connected with any purchase, sale or delivery of any pistol         possession, sale and use of pistols   in defence of himself and the state.”
                     or revolver, and no person shall sell, barter, hire, lend, give or deliver to   and revolvers, ch. 252, § 8, 1923     CONN. CONST. art. I, § 15 (1818).
                     any minor under the age of eighteen years any pistol or revolver.               CONN. PUBLIC ACTS PASSED BY
                                                                                                     THE GENERAL ASSEMBLY 3707,
                                                                                                     3709.

Delaware      1881   Section 1. That if any person shall carry concealed a deadly weapon             An Act providing for the              None
                     upon or about his person other than an ordinary pocket knife, or shall          punishment of persons carrying
                     knowingly sell a deadly weapon to a minor other than an ordinary                concealed deadly weapons, ch.
                     pocket knife, such person shall upon conviction thereof, be fined not           548, § 1, 1881, 16 DEL. LAWS
                     less than twenty-five nor more than one hundred dollars or imprisoned           716, 716.
                     in the county jail for not less than ten nor more than thirty days, or both
                     at the discretion of the court: Provided, that the provisions of this
                     section shall not apply to the carrying of the usual weapons by
                     policemen and other peace officers.


District of   1892   Be it enacted by the Senate and House of Representatives of the United          An Act to punish the carrying or      “A well regulated Militia, being
Columbia             States of America in Congress assembled, That it shall not be lawful for        selling of deadly or dangerous        necessary to the security of a free
                     any person or persons within the District of Columbia, to have                  weapons within the District of        State, the right of the people to keep
                     concealed about their person any deadly or dangerous weapons, such as           Columbia, and for other               and bear Arms, shall not be
                     daggers, air-guns, pistols, bowie-knives, dirk knives or dirks,                 purposes, ch. 159, 27 Stat. 116,      infringed.” U.S. CONST. amend. II
                     blackjacks, razors, razor blades, sword canes, slung shot, brass or other       116-17 (1892).                        (1791).
                     metal knuckles.
                     …
                     Section 5. That any person or persons who shall, within the District of
                     Columbia, sell, barter, hire, lend or give to any minor under the age of
                     twenty-one years any such weapon as hereinbefore described shall be
                     deemed guilty of a misdemeanor, and shall, upon conviction thereof,
                     pay a fine or penalty of not less than twenty dollars nor more than one
                     hundred dollars, or be imprisoned in the jail of the District of Columbia
                     not more than three months.
                                                                                                                                                                                     Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 4 of 22 PageID #: 122




                                                                                  3
Florida   1881   Section 1. It shall be unlawful for any person or persons to sell, hire,     An Act to Prevent the Selling,       “The people shall have the right to
                 barter, lend or give to any minor under sixteen years of age any pistol,     Hiring, Bartering, Lending or        bear arms in defence of themselves
                 dirk or other arm or weapon, other than an ordinary pocket-knife, or a       Giving to Minors under Sixteen       and of the lawful authority of the
                 gun or rifle used for hunting, without the permission of the parents of      Years of Age, or to any Person of    State.” FLA. CONST. art. I, § 22
                 such minor, or the person having charge of such minor, and it shall be       Unsound Mind, Certain Fire-arms      (1868).
                 unlawful for any person or persons to sell, hire, barter, lend or give to    or other Dangerous Weapons,
                 any person or persons of unsound mind, any dangerous weapon other            No. 67, ch. 3285, § 1-2, 1881
                 than an ordinary pocket-knife.                                               FLA. ACTS AND RESOLUTIONS 87,
                                                                                              87.
                 Section 2. Any person or persons so offending shall be deemed guilty of
                 a misdemeanor, and upon conviction thereof shall be fined not less than
                 twenty nor more than fifty dollars, or imprisoned in the county jail not
                 more than three months.


Georgia   1876   Section I. Be it enacted, etc., That from and after the passage of this      An Act to punish any person or       “A well-regulated militia being
                 Act, it shall not be lawful for any person or persons knowingly to sell,     persons who shall sell, give, lend   necessary to the security of a free
                 give, lend or furnish any minor or minors any pistol, dirk, bowie knife      or furnish any minor or minors       people, the right of the people to keep
                 or sword cane. Any person found guilty of a violation of this Act shall      with deadly weapons herein           and bear arms shall not be infringed;
                 be guilty of a misdemeanor, and punished as prescribed in section 4310       mentioned and for other              but the general assembly shall have
                 of the Code of 1873: Provided, that nothing herein contained shall be        purposes, No. 63, § 1, 1876 GA.      power to prescribe by law the manner
                 construed as forbidding the furnishing of such weapons under                 ACTS AND RESOLUTIONS 112,            in which arms may be borne.” GA.
                 circumstances justifying their use in defending life, limb or property.      112.                                 CONST. art. I, § 14 (1868).



Hawaii    1988   Where the urgency or the need has been sufficiently indicated, the           A Bill for an Act Relating to        “A well regulated militia being
                 respective chief of police may grant to an applicant of good moral           Firearms and Ammunition, No.         necessary to the security of a free
                 character who is a citizen of the United States of the age of twenty years   275, § 134-9(a), 1988 HAW.           state, the right of the people to keep
                 or more, is engaged in the protection of life and property, and is not       SESSION LAWS PASSED BY THE           and bear arms shall not be infringed.”
                 prohibited under section 134-7 from the ownership or possession of a         FOURTEENTH STATE                     HAW. CONST. art. I, § 17 (1959).
                 firearm, a license to carry a pistol or revolver and ammunition therefor     LEGISLATURE 510, 515.
                 unconcealed on the person within the county where the license is
                 granted. Unless renewed, the license shall expire one year from the date
                 of issue.
                                                                                                                                                                             Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 5 of 22 PageID #: 123




                                                                            4
Idaho      1909   Section 1. If any person, (excepting officials of a county, officials of      An Act to regulate the use and      “The people have the right to bear
                  the State of Idaho, officials of the United States, peace officers, guards    carrying of concealed deadly        arms for their security and defence;
                  of any jail, any officer of any express company on duty), shall carry         weapons and to regulate the sale    but the Legislature shall regulate the
                  concealed upon or about his person any dirk, dirk knife, bowie knife,         or delivery of deadly weapons to    exercise of this right by law.” IDAHO
                  dagger, slung shot, pistol, revolver, gun or any other deadly or              minors under the age of sixteen     CONST., art. I, § 11 (1889).
                  dangerous weapon within the limits or confines of any city, town, or          years… No. 62, § 1, 1909 IDAHO
                  village, or in any public assembly, or in any mining, lumbering,              GENERAL LAWS PASSED AT THE
                  logging, railroad, or other construction camp within the State of Idaho,      TENTH SESSION OF THE STATE
                  or shall, in the presence of one or more persons, exhibit any deadly or       LEGISLATURE 6, 6.
                  dangerous weapon in a rude, angry, or threatening manner, or shall have
                  or carry any such weapon upon or about his person when intoxicated, or
                  under the influence of intoxicating drinks, or shall, directly or
                  indirectly, sell or deliver, loan or barter to any minor under the age of
                  sixteen (16) years any such weapon, without the consent of the parent or
                  guardian of such minor, he shall upon conviction, be punished by a fine
                  of not less than twenty-five dollars ($25.00) nor more than two hundred
                  dollars ($200.00), or by imprisonment in the county jail for a period of
                  not less than twenty (20) nor more than sixty (60) days, or by both such
                  fine and imprisonment: Provided, however, that it shall be a good
                  defense to the charge of carrying such concealed weapons if the
                  defendant shall show that he has been threatened with great bodily
                  harm, or had good reason to carry the same in the necessary defense of
                  his person, family, home or property.


Illinois   1881   § 2. Whoever, not being the father, guardian or employer of the minor         An Act to regulate the traffic in   None
                  herein named, by himself or agent, shall sell, give, loan, hire or barter,    deadly weapons and to prevent
                  or shall offer to sell, give, loan, hire or barter to any minor within this   the sale of them to minors, § 2,
                  state, any pistol, revolver, derringer, bowie knife, dirk or other deadly     1881 ILL. LAWS 73, 73.
                  weapon of like character, capable of being secreted upon the person,
                  shall be guilty of a misdemeanor, and shall be fined in any sum not less
                  than twenty-five dollars ($25), nor more than two hundred dollars
                  ($200).
                                                                                                                                                                             Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 6 of 22 PageID #: 124




                                                                              5
Indiana    1875    Section 1. Be it enacted by the General Assembly of the State of              An Act to prohibit the sale, gift,   “The people shall have a right to bear
                   Indiana, That it shall be unlawful for any person to sell, barter, or give    or bartering of deadly weapons or    arms, for the defense of themselves
                   to any other person under the age of twenty-one years any pistol, dirk,       ammunition therfor, to minors,       and the State.” IND. CONST. art. I, §
                   or bowie-knife, slung-shot, knucks, or other deadly weapon that can be        ch. 40, § 1, 1875 IND. LAWS 59,      32 (1851).
                   worn or carried concealed upon or about the person, or to sell, barter, or    59.
                   give to any person, under the age of twenty-one years, any cartridges
                   manufactured and designed for use in a pistol.

Iowa       1884    Section 1. That it shall be unlawful for any person to knowingly sell,        An Act to Prohibit the Selling or    None
                   present or give any pistol, revolver or toy pistol to any minor.              Giving of Fire Arms to Minors,
                                                                                                 ch. 78, § 1, 1884 IOWA ACTS AND
                                                                                                 RESOLUTIONS 86, 86.


Kansas     1883    Section 1. Any person who shall sell, trade, give, loan or otherwise          An Act to prevent selling, trading   “The people have the right to bear
                   furnish any pistol, revolver or toy pistol, by which cartridges or caps       or giving of deadly weapons or       arms for their defense and security;
                   may be exploded, or any dirk, bowie knife, brass knuckles, slung shot,        toy pistols to minors, and to        but standing armies, in time of peace,
                   or other dangerous weapons to any minor, or to any person of                  provide punishment therefor, ch.     are dangerous to liberty, and shall not
                   notoriously unsound mind, shall be deemed guilty of a misdemeanor,            105, §§ 1-2, 1883 KAN. SESSION       be tolerated, and the military shall be
                   and shall, upon conviction before any court of competent jurisdiction,        LAWS 159, 159.                       in strict subordination to the civil
                   be fined not less than five nor more than one hundred dollars.                                                     power.” KAN. CONST. bill of rights, §
                                                                                                                                      4 (1859).
                   Sec. 2. Any minor who shall have in his possession any pistol, revolver
                   or toy pistol, by which cartridges may be exploded, or any dirk, bowie-
                   knife, brass knuckles, slung shot or other dangerous weapon, shall be
                   deemed guilty of a misdemeanor, and upon conviction before any court
                   of competent jurisdiction shall be fined not less than one nor more than
                   ten dollars.

Kentucky   1873*   § 1. If any person shall carry concealed a deadly weapon upon or about        EDWARD I. BULLOCK & WILLIAM          “That the rights of the citizens to bear
                   his person other than an ordinary pocket knife, or shall sell a deadly        JOHNSON, EDS., THE GENERAL           arms in defence of themselves and the
                   weapon to a minor other than an ordinary pocket knife, such person            STATUTES OF THE                      State shall not be questioned; but the
                   shall, upon indictment and conviction, be fined not less than twenty-five     COMMONWEALTH OF KENTUCKY             general assembly may pass laws to
                   nor more than one hundred dollars, and imprisoned in the county jail for      art. 29, at 359 (1873).              prevent persons from carrying
                   not less than ten nor more than thirty days, in the discretion of the court                                        concealed arms.” KY. CONST. art.
                   or jury trying the case.                                                                                           XIII, § 25 (1850).
                                                                                                                                                                                 Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 7 of 22 PageID #: 125




                                                                              6
Louisiana   1890   Section 1. Be it enacted by the General Assembly of the State of               An Act Making it a misdemeanor      “A well regulated militia being
                   Louisiana, That, hereafter, it shall be unlawful, for any person to sell, or   for any person to sell, give or     necessary to the security of a free
                   lease or give through himself or any other person, any pistol, dirk,           lease, to any minor, any pistol,    State, the right of the people to keep
                   bowie-knife or any other dangerous weapon, which may be carried                bowie-knife, dirk or any weapon,    and bear arms shall not be abridged.
                   concealed to any person under the age of twenty-one years.                     intended to be carried or used as   This shall not prevent the passage of
                                                                                                  a concealed weapon, No. 46, § 1,    laws to punish those who carry
                                                                                                  1890 LA. ACTS 39, 39.               weapons concealed.” LA. CONST.
                                                                                                                                      art. 3 (1879).

Maine       1909   Section 1. It shall be considered injurious to the physical, mental or         An Act concerning the Protection    “Every citizen has a right to keep and
                   moral welfare of any child, or children within the age defined by the          of Children, and defining certain   bear arms for the common defence;
                   statutes of this state concerning infants in distress, to smoke or use         Acts which shall be considered as   and this right shall never be
                   tobacco in any form, or to use or drink alcoholic or intoxicating liquors,     causing, encouraging or             questioned.” ME. CONST. art. I, § 16
                   or to use narcotic drugs of any kind or description unless prescribed by       contributing to the Delinquency     (1819).
                   a physician, or otherwise used in case of sickness; and any person             or Distress of Infants, ch. 166,
                   selling, giving or furnishing any such child with cigarettes, cigarette        §§ 1-2, 1909 ME. ACTS AND
                   papers, tobacco, liquor or other narcotic drugs in any form or                 RESOLVES 169, 169.
                   encouraging such child to use the same, except as otherwise provided
                   herein, shall be deemed guilty of encouraging, causing or contributing
                   to the delinquency or distress of such child, and shall be punished, on
                   conviction thereof, by a fine not exceeding one hundred dollars or
                   imprisonment for a term not exceeding thirty days.

                   Section 2. It shall be considered dangerous to the welfare of such
                   children to give, furnish or sell to them any dangerous weapon or
                   firearms, except in cases where the parents, guardians, teachers or
                   instructors of children may furnish them with such weapons for hunting
                   or target shooting outside the limits of any incorporated town or city, or
                   where the same may be used in any regular licensed shooting gallery,
                   and any person violating this provision shall also be deemed guilty of
                   causing, encouraging or contributing to the delinquency or distress of
                   children, and may be similarly proceeded against and punished as under
                   the foregoing section.
                                                                                                                                                                               Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 8 of 22 PageID #: 126




                                                                               7
Maryland        1882   Sec. 2 Be it enacted, That it shall be unlawful for any person, be he          An Act to prohibit the sale of       None
                       licensed dealer or not, to sell, barter or give away any firearm               “Deadly Weapons to Minors,”
                       whatsoever or other deadly weapons, except shot guns, fowling pieces           ch. 424, § 2, 1882 MD. LAWS
                       and rifles, to any person who is a minor under the age of twenty-one           656, 656.
                       years. Any person or persons violating any of the provisions of this act
                       shall, on conviction thereof, pay a fine of not less than fifty nor more
                       than two hundred dollars, together with costs of prosecution, and upon
                       failure to pay said fine and cost, be committed to jail and confined
                       therein until such fine and costs are paid, or for the period of sixty days,
                       whichever shall first occur.


Massachusetts   1884   Section 1. No person shall sell or furnish to a minor under the age of         An Act to prohibit the sale of       “The people have a right to keep and
                       fifteen years, any firearms or other dangerous weapon: provided, that          firearms and other dangerous         to bear arms for the common defence.
                       instructors and teachers may furnish military weapons to pupils for            weapons to minors, ch. 76, §§ 1-     And as, in time of peace, armies are
                       instruction and drill.                                                         2, 1884 MASS. ACTS AND               dangerous to liberty, they ought not to
                                                                                                      RESOLVES 57, 57.                     be maintained without the consent of
                       Section 2. Whoever violates the provisions of this act shall for each                                               the legislature; and the military power
                       offence be punished by fine not less than ten nor more than fifty dollars.                                          shall always be held in an exact
                                                                                                                                           subordination to the civil authority,
                                                                                                                                           and be governed by it.” MASS.
                                                                                                                                           CONST. pt. 1, art. 17 (1780).

Michigan        1883   Section 1. The People of the State of Michigan enact, That no person           An Act to prevent the sale and       “Every person has a right to bear arms
                       shall sell, give, or furnish to any child under the age of thirteen years,     use of toy pistols, No. 138, §§ 1-   for the defence of himself and the
                       any cartridge of any form or material, or any pistol, gun, or other            3, 1883 MICH. PUBLIC ACTS 144,       state.” MICH. CONST. art. XVIII, § 7
                       mechanical contrivance, specially arranged or designated for the               144.                                 (1850).
                       explosion of the same.

                       Sec. 2. Any person violating any of the provisions of the foregoing
                       section, shall be guilty of a misdemeanor, and upon conviction thereof,
                       shall be punished by a fine of not less than ten dollars, nor more than
                       fifty dollars, and costs of prosecution, or imprisonment in the county
                       jail not less than ten days nor more than ninety days, or both such fine
                       and imprisonment, in the discretion of the court.

                       Sec. 3. It shall be unlawful for any person under the age of thirteen
                       years to have in possession, or use any of the articles named in section
                       one of this act.
                                                                                                                                                                                     Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 9 of 22 PageID #: 127




                                                                                    8
Minnesota     1889   Section 1. That it shall be unlawful for any minor person under the age       An act to prohibit the use of       None
                     of fourteen (14) years to handle or have in his possession or control,        firearms by minors, and to punish
                     except while accompanied by or under the immediate charge of his              the same, ch. 16, § 1, MINN.
                     parent or guardian, any firearm of any species whatever, for hunting or       GENERAL LAWS 58, 58-59.
                     target practice, or any other purpose whatever. And any one violating
                     any of the provisions of this act, or aiding or knowingly permitting any
                     minor person of such age, except as herein provided, to violate the
                     same, shall be deemed guilty of a misdemeanor.




Mississippi   1878   Section 1. Be it enacted by the Legislature of the State of Mississippi,      An Act to prevent the carrying of   “All persons shall have a right to keep
                     That any person not being threatened with, or having good and                 concealed weapons, and for other    and bear arms for their defence.”
                     sufficient reason to apprehend an attack, or traveling (not being a tramp)    purposes, ch. 66, §§ 2-3, 1878      MISS. CONST. art. I, § 15 (1868).
                     or setting out on a journey, or peace officers, or deputies in discharge of   MISS. LAWS 175, 175-76.
                     their duties, who carries concealed, in whole or in part, any bowie knife,
                     pistol, brass knuckles, slung shot or other deadly weapon of like kind or
                     description, shall be deemed guilty of a misdemeanor, and on
                     conviction, shall be punished for the first offence by a fine of not less
                     than five dollars nor more than one hundred dollars, and in the event the
                     fine and cost are not paid shall be required to work at hard labor under
                     the direction of the board of supervisors or of the court, not exceeding
                     two months, and for the second or any subsequent offence, shall, on
                     conviction, be fined not less than fifty nor more than two hundred
                     dollars, and if the fine and costs are not paid, be condemned to hard
                     labor not exceeding six months under the direction of the board of
                     supervisors, or of the court. That in any proceeding under this section, it
                     shall not be necessary for the State to allege or prove any of the
                     exceptions herein contained, but the burden of proving such exception
                     shall be on the accused.

                     Sec. 2. Be it further enacted, That it shall not be lawful for any person
                     to sell to any minor or person intoxicated, knowing him to be a minor or
                     in a state of intoxication, any weapon of the kind or description in the
                     first section of this Act described, or any pistol cartridge, and on
                     conviction shall be punished by a fine not exceeding two hundred
                     dollars, and if the fine and costs are not paid, be condemned to hard
                     labor under the direction of the board of supervisors or of the court, not
                     exceeding six months.
                                                                                                                                                                                 Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 10 of 22 PageID #: 128




                                                                                9
                   Sec. 3. Be it further enacted, That any father, who shall knowingly
                   suffer or permit any minor son under the age of sixteen years to carry
                   concealed, in whole or in part, any weapon of the kind or description in
                   the first section of this Act described, shall be deemed guilty of a
                   misdemeanor, and on conviction, shall be fined not less than twenty
                   dollars, nor more than two hundred dollars, and if the fine and costs are
                   not paid, shall be condemned to hard labor under the direction of the
                   board of supervisors or of the court.

Missouri   1879*   If any person shall carry concealed, upon or about his person, any               Carrying deadly weapons, etc.,     “That the people have the right
                   deadly or dangerous weapon, or shall go into any church or place where           § 1274, JOHN A. HOCKADAY, ET       peaceably to assemble for their
                   people have assembled for religious worship, or into any school room or          AL., EDS., 1 THE REVISED           common good, and to apply to those
                   place where people are assembled for educational, literary or social             STATUTES OF THE STATE OF           vested with the powers of government
                   purposes, or to any election precinct, on any election day, or into any          MISSOURI, § 1274, at 224 (1879).   for redress of grievances, by petition
                   court room during the sitting of court, or into any other public                                                    or remonstrance; and that their right to
                   assemblage of persons met for any lawful purpose other than for militia                                             bear arms in defence of themselves
                   drill or meetings called under the militia law of this state, having upon                                           and of the lawful authority of the State
                   or about his person any kind of firearms, bowie-knife, dirk, dagger,                                                cannot be questioned.” MO. CONST.
                   slung-shot, or other deadly weapon, or shall, in the presence of one or                                             art. I, § 8 (1865).
                   more persons, exhibit any such weapon in a rude, angry or threatening
                   manner, or shall have or carry any such weapon upon or about his
                   person when intoxicated or under the influence of intoxicating drinks,
                   or shall, directly or indirectly, sell or deliver, loan or barter to any minor
                   any such weapon, without the consent of the parent or guardian of such
                   minor, he shall, upon conviction, be punished by a fine of not less than
                   five nor more than one hundred dollars, or by imprisonment in the
                   county jail not exceeding three months, or by both such fine and
                   imprisonment.

Montana    1907    Section 1. It shall be unlawful for any parent, guardian, or other person,       An Act prohibiting the use of      “The right of any person to keep or
                   having the charge or custody of any minor child under the age of                 firearms by children under the     bear arms in defense of his own home,
                   fourteen years, to permit such minor child to carry or use any firearms          age of fourteen years, ch. 111,    person, and property, or in aid of the
                   of any description, loaded with powder and lead, in public, except when          § 1, 1907 MONT. LAWS,              civil power when thereto legally
                   such child is in the company of such parent or guardian.                         RESOLUTIONS AND MEMORIALS          summoned, shall not be called in
                                                                                                    282, 282-83.                       question, but nothing herein contained
                                                                                                                                       shall be held to permit the carrying of
                                                                                                                                       concealed weapons.” MONT. CONST.
                                                                                                                                       art. II, § 12 (1889).
                                                                                                                                                                                  Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 11 of 22 PageID #: 129




                                                                                10
Nebraska        1977     (1) Any person under the age of eighteen years who possesses a pistol,        An Act to adopt the Nebraska         None (adopted provision in 1988)
                         revolver, or any other form of short-barreled hand firearm commits the        Criminal Code;…, Legis. Bill 38,
                         offense of unlawful possession of a revolver.                                 § 236, 1977 NEB. LAWS 88, 195.

                         (2) The provisions of this section shall not apply to the issuance of such
                         firearms to the armed forces of the United States, active or reserve, state
                         militia, or Reserve Officers Training Corps, when on duty or training, or
                         to the temporary loan of pistols, revolvers, or any other form of short-
                         barreled firearms for instruction under the immediate supervision of a
                         parent or guardian or adult instructor.

                         (3) Unlawful possession of a revolver is a Class III misdemeanor.

Nevada          1881     Section 1. Every person under the age of eighteen (18) years who shall        An Act to Prohibit the Carrying      None (adopted provision in 1982)
                [1885]   wear or carry any dirk, pistol, sword in case, slung shot, or other           of Concealed Weapons by
                         dangerous and deadly weapon concealed upon his person shall be                Minors, ch. 104, § 1, 1881 NEV.
                         deemed guilty of a misdemeanor, and shall, upon conviction thereof, be        STATUTES 143, 143-44; An Act
                         fined not less than twenty nor more than two hundred ($200) dollars, or       to amend an Act entitled “An Act
                         by imprisonment in the County Jail not less than thirty days nor more         to prohibit the carrying of
                         than six months, or by both such fine and imprisonment.                       concealed weapons by minors,
                                                                                                       ch. 51, § 1, 1885 NEV. STATUTES
                         [1885 act substituted “twenty-one (21)” for “eighteen (18),” without any      51, 51.
                         other substantive change]

New Hampshire   1923     Sect. 7. Any person or persons who shall sell, barter, hire, lend or give     An Act to control the possession,    None (adopted provision in 1982)
                         to any minor under the age of twenty-one years any pistol or revolver         sale, and use of pistols and
                         shall be deemed guilty of a misdemeanor and shall upon conviction             revolvers, ch. 118, § 7, 1923 N.H.
                         thereof be fined not more than one hundred dollars or be imprisoned not       LAWS 138, 139.
                         more than three months, or both. This section shall not apply to fathers,
                         mothers, guardians, administrators, or executors who give to their
                         children, wards, or to heirs to an estate, a revolver.
                                                                                                                                                                               Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 12 of 22 PageID #: 130




                                                                                   11
New Jersey   1882   1. Be it enacted by the Senate and General Assembly of the State of           An Act to prevent vending, using       None
                    New Jersey, That it shall not be lawful for any person or persons, to         or exploding, of guns, pistols, toy
                    sell, barter, or exchange, or to offer or exhibit for sale, barter or         pistols, or other firearms, to or by
                    exchange, any gun, pistol, toy pistol, or other firearms in this state, to    persons under the age of fifteen
                    any person under the age of fifteen years.                                    years in this state, ch. 4, §§ 1-3,
                                                                                                  1882 N.J. ACTS 13, 13-14.
                    2. And be it enacted, That it shall not be lawful for any person to sell,
                    hire or loan to any person under the age of fifteen years, any gun, pistol,
                    toy pistol or other firearms, or for any person under the age of fifteen
                    years to purchase, barter or exchange, or carry, fire or use any gun,
                    pistol, toy pistol or other firearms in this state.

                    3. And be it enacted, That any person offending against the provisions
                    of this act shall be deemed guilty of a misdemeanor, and on being
                    thereof convicted shall be punished by a fine not exceeding one hundred
                    dollars, or imprisonment at hard labor for any term not exceeding three
                    months, or both, at the discretion of the court.

New Mexico   1971   A. It is unlawful after April 1, 1972, for any person born after January      An Act relating to firearms;           “No law shall abridge the right of the
                       1, 1958, to hunt with or shoot a firearm, unless:                          providing for courses in the           citizen to keep and bear arms for
                             (1) he is supervised by a parent, legal guardian or a                handling of firearms and proof of      security and defense, for lawful
                                 responsible adult designated by the parent or guardian; or       competency; providing for the          hunting and recreational use and for
                             (2) he carries a certificate indicating that he has successfully     revocation of certification; and       other lawful purposes, but nothing
                                 completed the New Mexico hunter training course or the           prescribing a penalty, ch. 61, § 2,    herein shall be held to permit the
                                 hunter training course of another state which is approved        1971 N.M. LAWS 175, 175-76             carrying of concealed weapons.”
                                 by the New Mexico department of game and fish; or                (1971).                                N.M. CONST. art. II, § 6 (1971).
                             (3) he is eighteen years of age or older.

                    B. It is unlawful after April 1, 1976, for any person under the age of
                       eighteen years to hunt with or shoot a firearm unless he is carrying
                       a certificate indicating that he has successfully completed the New
                       Mexico hunter training course or the hunter training course of
                       another state which is approved by the New Mexico department of
                       game and fish.

                    C. Any person violating the provisions of this section is guilty of a
                       petty misdemeanor.
                                                                                                                                                                                  Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 13 of 22 PageID #: 131




                                                                                12
New York         1883   Section 1. No person under the age of eighteen years shall have, carry         An Act to limit the carrying and        None
                        or have in his possession in any public street, highway or place in any        sale of pistols and other fire-arms
                        of the cities of this state, any pistol or other fire-arms of any kind, and    in the cities of this state, ch. 375,
                        no person shall in such cities sell or give any pistol or other fire-arms to   §§ 1-4, 1883 N.Y. LAWS 556,
                        any person under such age.                                                     556-57.

                        § 2. Any person violating any of the provisions of this act shall be guilty
                        of a misdemeanor, and in all trials or examinations for said offense the
                        appearance of the person so alleged or claimed to be under the age of
                        eighteen years shall be evidence to the magistrate or jury as to the age
                        of such person.

                        § 3. Nothing herein contained shall apply to the regular and ordinary
                        transportation of pistols or fire-arms as articles of merchandise in said
                        cities, or to the carrying of a gun or rifle through a street or highway of
                        any city, with the intent to use the same outside of said city; nor to any
                        person under such age carrying any pistol or other firearms under a
                        license given by the mayor of said cities; but no licenses so given shall
                        be in force more than one year from its date, and all such licenses may
                        be revoked at the pleasure of the mayor, and a full, complete and public
                        record shall be kept by the mayor of said cities of all such licenses, and
                        the terms and date thereof.

                        § 4. This act shall take effect immediately.

North Carolina   1893   Section 1. That it shall be unlawful for any person, corporation or firm       An act to prevent the sale of           “A well-regulated militia being
                        knowingly to sell or offer for sale, give or in any way dispose of to a        deadly weapons to minors, ch.           necessary to the security of a free
                        minor any pistol or pistol cartridge, brass knucks, bowie-knife, dirk,         514, §§ 1-2, 1893 N.C. PUBLIC           State, the right of the people to keep
                        loaded cane, or sling-shot.                                                    LAWS AND RESOLUTIONS 468,               and bear arms shall not be infringed;
                                                                                                       468-69.                                 and as standing armies in time of
                        Sec. 2 That any person, corporation or firm violating this act shall be                                                peace are dangerous to liberty, they
                        guilty of a misdemeanor, and upon conviction for each and every                                                        ought not to be kept up, and the
                        offence shall be fined or imprisoned, one or both, in the discretion of                                                military should be kept under strict
                        the court.                                                                                                             subordination to and governed by the
                                                                                                                                               civil power. Nothing herein contained
                                                                                                                                               shall justify the practice of carrying
                                                                                                                                               concealed weapons, or prevent the
                                                                                                                                               legislature from enacting penal
                                                                                                                                               statutes against said practice.” N.C.
                                                                                                                                               CONST. art. I, § 24 (1876).
                                                                                                                                                                                        Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 14 of 22 PageID #: 132




                                                                                    13
North Dakota   1985   4. A person under the age of eighteen years may not possess a handgun      An Act to create and enact            “All individuals are by nature equally
                      except that such a person may, while under the direct supervision of an    chapters 62.1-01, 62.1-02, 62.1-      free and independent and have certain
                      adult, possess a handgun for the purposes of firearm safety training,      03, 62.1-04, and 62.1-05 of the       inalienable rights, among which are
                      target shooting, or hunting.                                               North Dakota Century Code,            those of enjoying and defending life
                                                                                                 relating to the possession, sale,     and liberty; acquiring, possessing and
                                                                                                 and use of weapons…., ch. 683,        protecting property and reputation;
                                                                                                 § 4(4), 1985 N.D. LAWS 2226,          pursuing and obtaining safety and
                                                                                                 2230.                                 happiness; and to keep and bear arms
                                                                                                                                       for the defense of their person, family,
                                                                                                                                       property, and the state, and for lawful
                                                                                                                                       hunting, recreational, and other lawful
                                                                                                                                       purposes, which shall not be
                                                                                                                                       infringed.” N.D. CONST. art. I, § 1
                                                                                                                                       (1985).

Ohio           1880   Section 1. Be it enacted by the General Assembly of the State of Ohio,     An Act Supplementary to chapter       “The people have the right to bear
                      That the following section be enacted as supplementary to chapter 8,       eight (8), title one (1), part four   arms for their defense and security;
                      title 1, part 4, of the revised statutes with sectional number as herein   (4), of the revised statutes of       but standing armies, in time of peace,
                      provided:                                                                  Ohio, § 1, 1880 OHIO GENERAL          are dangerous to liberty, and shall not
                                                                                                 AND LOCAL LAWS 79, 79-80.             be kept up; and the military shall be in
                           Section 6986a. That whoever sells, barters, or gives away to any                                            strict subordination to the civil
                           minor under the age of fourteen years, any air-gun, musket, rifle-                                          power.” OHIO CONST. art. I, § 4
                           gun, shot-gun, revolver, pistol, or other fire arm, of any kind or                                          (1851).
                           description whatever, or ammunition for the same, or whoever
                           being the owner, or having charge or control of any such air-gun,
                           musket, rifle-gun, shot-gun, revolver, pistol or other fire-arm
                           knowingly permits the same to be used by such minor, shall be
                           deemed guilty of a misdemeanor, and upon conviction thereof
                           shall be fined in any sum not exceeding one hundred dollars, or be
                           imprisoned in jail not exceeding thirty days or both.
                                                                                                                                                                                  Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 15 of 22 PageID #: 133




                                                                                14
Oklahoma   1890     § 2545. Carrying concealed weapons. It shall be unlawful for any              Act of 1890, ch. 25, art. 47, §§ 1-   “The right of a citizen to keep and
           [1907]   person in the State of Oklahoma to carry concealed on or about his            3, 1890 OKLA. STATUTES 495,           bear arms in defense of his home,
                    person, saddle or saddle bags, any pistol, revolver, bowie knife, dirk,       495.                                  person, or property, or in aid of the
                    dagger, slung-shot, sword cane, spear, metal knuckles or any other kind                                             civil power, when thereunto legally
                    of knife or instrument manufactured or sold for the purpose of defense,       CLINTON ORRIN BUNN, ED., 1            summoned, shall never be prohibited;
                    except as in this article provided.                                           REVISED LAWS OF OKLAHOMA              but nothing herein contained shall
                                                                                                  §§ 2545-47, at 628 (1910).            prevent the Legislature from
                    § 2546. Carrying weapons. It shall be unlawful for any person in the                                                regulating the carrying of weapons.”
                    State of Oklahoma to carry upon or about his person any pistol,               (Although the Act was passed in       OKLA. CONST. art. II, § 26 (1907).
                    revolver, bowie-knife, dirk knife, loaded cane, billy, metal knuckles, or     1890, Oklahoma was not
                    any other offensive or defensive weapon, except as in this article            admitted as a State until 1907.
                    provided.                                                                     The text is taken from the code.)

                    § 2547. Selling weapons to minors. It shall be unlawful for any person
                    within this State to sell or give to any minor any of the arms or weapons
                    designated in the two preceding sections.

Oregon     1868     WHEREAS, The constitution of the United States, in article second of          An Act to protect the owners of       “The people shall have the right to
                    amendments to the constitution, declares that “the right of the people to     Fire-Arms, §§ 1-2, 1868 OR.           bear arms for the defence of
                    keep and bear arms shall not be infringed;” and the constitution of the       GENERAL LAWS 18, 18-19.               themselves, and the State, but the
                    state of Oregon, in article first, section twenty-seven, declares that “the                                         Military shall be kept in strict
                    people shall have the right to bear arms for the defense of themselves                                              subordination to the civil power.” OR.
                    and the state;” therefore;                                                                                          CONST. art. I, § 27 (adopted 1857).

                    Be it enacted by the Legislative Assembly of the State of Oregon as
                    follows:

                    Section 1. Every white male citizen of this state above the age of sixteen
                    years, shall be entitled to have, hold, and keep, for his own use and
                    defense, the following fire-arms, to wit: Either or any one of the
                    following named guns, and one revolving pistol: a rifle, shotgun (double
                    or single barrel), yager, or musket; the same to be exempt from
                    execution, in all cases, under the laws of Oregon.

                    § 2. No officer, civil or military, or other person, shall take from or
                    demand of the owner any fire-arms mentioned in this act, except where
                    the services of the owner are also required to keep the peace or defend
                    the state.
                                                                                                                                                                                 Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 16 of 22 PageID #: 134




                                                                               15
Pennsylvania     1881   Section 1. Be it enacted, &c., That any person, who shall knowingly and     An Act to prohibit the sale to any   “The right of the citizens to bear arms
                        wilfully sell or cause to be sold, to any person under sixteen years of     person under sixteen years of age    in defence of themselves and the State
                        age, any cannon, revolver, pistol or other such deadly weapon, or who       of deadly weapons, gun powder        shall not be questioned.” PA. CONST.
                        shall knowingly and wilfully sell to or cause to be sold to any such        and explosive substances, in the     art. 1, § 21 (1873).
                        minor, any imitation or toy cannon, revolver or pistol so made,             commonwealth of Pennsylvania
                        constructed or arranged as to be capable of being loaded with               No. 124, § 1, 1881 PA. LAWS
                        gunpowder or other explosive substance, cartridges, shot, slugs or balls,   111, 111-12.
                        and being exploded, fired off and discharged and thereby become a
                        dangerous or deadly weapon, or who shall knowingly and wilfully sell
                        or cause to be sold to any such minor any cartridge, gunpowder or other
                        dangerous and explosive substance, shall, in every such case, be guilty
                        of a misdemeanor, and upon conviction thereof shall be sentenced to
                        pay a fine not exceeding three hundred dollars.



Rhode Island     1883   Section 1. No person shall sell to any child under the age of fifteen       An Act in amendment of and in        “The right of the people to keep and
                        years, without the written consent of a parent or guardian of such child,   addition to chapter 92 of the        bear arms shall not be infringed.” R.I.
                        any cartridge or fixed ammunition of which any fulminate is a               public statutes, “Of fire-arms and   CONST. art. I, § 22 (1842).
                        component part, or any gun, pistol or other mechanical contrivance          fire-works,” ch. 374, §§ 1-2,
                        arranged for the explosion of such cartridge or of any fulminate.           1883 R.I. ACTS AND RESOLVES
                                                                                                    157, 157.
                        Sec. 2. Every person violating the provisions of the foregoing section
                        shall be fined not less than ten dollars nor more than twenty dollars for
                        each offence.

South Carolina   1923   § 19. If any person shall knowingly sell, offer for sale, give, or in any   An Act to Enlarge and Define the     “A well regulated militia being
                        way dispose of to a minor any pistol or pistol cartridge, brass knucks,     Duties and Powers of the Probate     necessary to the security of a free
                        bowie knife, dirk, loaded cane or sling shot, he shall be guilty of a       Court in Relation to Minors in       State, the right of the people to keep
                        misdemeanor. Any person being the parent or guardian of, or attending       Counties Having a Population         and bear arms shall not be infringed.
                        in loco parentis to any child under the age of twelve years who shall       According to the Census of 1920,     As, in times of peace, armies are
                        knowingly permit such child to have the possession or custody of, or        of Between 90,000 and 100,000        dangerous to liberty, they shall not be
                        use in any manner whatever any gun, pistol, or other dangerous firearm,     and Regulating the Procedure         maintained without the consent of the
                        whether such firearm be loaded or unloaded, or any person who shall         Therein, No. 148, § 19, 1923 S.C.    General Assembly. The military
                        knowingly furnish such child any firearm; shall be guilty of a              ACTS AND JOINT RESOLUTIONS           power of the State shall always be
                        misdemeanor, and, upon conviction, shall be fined not exceeding Fifty       207, 221 (1923).                     held in subordination to the civil
                        Dollars or imprisoned not exceeding thirty days.                                                                 authority and be governed by it.” S.C.
                                                                                                                                         CONST. art. I, § 20 (1895).
                                                                                                                                                                                   Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 17 of 22 PageID #: 135




                                                                                  16
South Dakota   1903   § 1. Unlawful to use arms by certain persons. It shall be unlawful for       An Act to prohibit the use of fire    “The right of the citizens to bear arms
                      any person under the age of fifteen years to carry, use or discharge any     arms by persons under fifteen         in defense of themselves and the state
                      rifle, shot gun, revolver or other fire arms except with the consent and     years of age, ch. 144, §§ 1-3,        shall not be denied.” S.D. CONST. art.
                      knowledge of their parents or guardians.                                     1903 S.D. LAWS 168, 168-69.           VI, § 24 (1889).

                      § 2. Duty of parent or guardian. It shall be unlawful for any parent or
                      guardian, having the legal charge or control of any minor under the age
                      of fifteen years, to allow or permit such minor to use or carry while
                      loaded any of the arms mentioned in section one of this act within the
                      platted portion or within the distance of one mile of the platted portion
                      of any city, town or village.

                      § 3. Penalty for violation. Any person or persons violating the
                      provisions of this act shall be deemed guilty of a misdemeanor and upon
                      conviction thereof shall be fined in a sum not exceeding Fifty Dollars.


Tennessee      1856   Sec. 2 Be it enacted, That, hereafter, it shall be unlawful for any person   An Act to amend the Criminal          “That the free white men of this State
                      to sell, loan, or give, to any minor a pistol, bowie-knife, dirk, or         Laws of this State, ch. 81, § 2,      have a right to keep and to bear arms
                      Arkansas tooth-pick, or hunter’s knife; and whoever shall so sell, loan,     1856 TENN. ACTS 92, 92.               for their common defence.” TENN.
                      or give, to any minor any such weapon, on conviction thereof, upon                                                 CONST. art. I, § 26 (1834).
                      indictment or presentment, shall be fined not less than twenty-five
                      dollars, and be liable to imprisonment, at the discretion of the Court:
                      Provided, that this act shall not be construed so as to prevent the sale,
                      loan, or gift, to any minor of a gun for hunting.

Texas          1897   Section 1. Be it enacted by the Legislature of the State of Texas: That if   An Act to prevent the barter, sale    “Every citizen shall have the right to
                      any person in this State shall knowingly sell, give or barter, or cause to   and gift of any pistol, dirk,         keep and bear arms in the lawful
                      be sold, given or bartered to any minor, any pistol, dirk, dagger, slung     dagger, slung shot, sword-cane,       defense of himself or the State; but the
                      shot, sword-cane, spear, or knuckles made of any metal or hard               spear, or knuckles made of any        Legislature shall have power, by law,
                      substance, bowie knife or any other knife manufactured or sold for the       metal or hard substance to any        to regulate the wearing of arms, with a
                      purpose of offense or defense, without the written consent of the parent     minor without the written consent     view to prevent crime.” TEXAS
                      or guardian of such minor, or of some one standing in lieu thereof, he       of the parent or guardian of such     CONST. art. I, § 23 (1876).
                      shall be punished by fine of not less than twenty-five dollars nor more      minor, or of some one standing in
                      than two hundred dollars, or by imprisonment in the county jail not less     lieu thereof, and providing a
                      than ten nor more than thirty days, or by both such fine and                 penalty for the violation, ch. 155,
                      imprisonment. And during the time of such imprisonment such offender         § 1, 1897 TEXAS GENERAL LAWS
                      may be put to work upon any public work in the county in which such          221, 221-22.
                      offense is committed.
                                                                                                                                                                                    Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 18 of 22 PageID #: 136




                                                                                 17
Utah       1905   Section. 1. Selling or giving firearms to minors under fourteen. Any          An Act to prohibit the sale of       “The people have the right to bear
                  person who sells, gives, or disposes of, or offers to sell, give or dispose   firearms to minors and the           arms for their security and defense,
                  of, any pistol, gun, target gun or other firearm, to any person under the     carrying of firearms by minors,      but the legislature may regulate the
                  age of fourteen years, is guilty of a misdemeanor.                            and prescribing penalties for        exercise of this right by law.” UTAH
                                                                                                violation thereof, ch. 52, §§ 1-2,   CONST. art. I, § 6 (1895).
                  Sec. 2. Minor under fourteen must not carry firearms. Any person              1905 UTAH LAWS 60, 60.
                  under the age of fourteen years who shall carry, or have in his
                  possession, any pistol, gun, target gun or other firearm, unless
                  accompanied by a parent or guardian, shall be guilty of a misdemeanor.

Vermont    1896   Section 1. No person shall sell, loan, furnish or give any pistol,            An Act relating to the sale,         “That the people have a right to bear
                  revolver or other firearm, constructed or designed for the use of             distribution and use of fire-arms,   arms for the defence of themselves
                  gunpowder or other explosive substance, with leaden bullets or shot, to       No. 111, §§ 1-2, 1896 VT. ACTS       and the State—and as standing armies
                  a child under the age of twelve years, and any person so offending, on        AND RESOLVES 83, 83.                 in time of peace are dangerous to
                  conviction thereof, shall be punished by fine not exceeding fifty dollars,                                         liberty, they ought not to be kept up;
                  together with the costs of prosecution.                                                                            and that the military should be kept
                                                                                                                                     under strict subordination to and
                  Sec. 2. No child under the age of twelve years shall have in his control                                           governed by the civil power.” VT.
                  or possession any pistol or revolver, constructed or designed for the use                                          CONST. ch. I, art. 16 (1777).
                  of gunpowder or other explosive substance with leaden bullets or shot,
                  and any person so offending shall, on conviction thereof, be fined not
                  exceeding twenty dollars and pay costs of prosecution.

Virginia   1889   1. Be it enacted by the general assembly of Virginia,                         An Act to prevent selling or         None
                  That, if any person sell, barter, give or furnish or cause to be sold,        furnishing cigarettes or tobacco
                  bartered, given, or furnished to any minor under sixteen years of age         in any form, or pistols, dirks, or
                  cigarettes, or pistols, or dirks, or bowie-knives, having good cause to       bowie-knives to minors under
                  believe him or her to be a minor under sixteen years of age, said person      sixteen years of age, ch. 152,
                  shall be fined not less than ten nor more than one hundred dollars.           §§ 1-2, 1889 VA. ACTS AND
                                                                                                JOINT RESOLUTIONS 118, 118.
                  2. This act shall be in force from its passage.
                                                                                                                                                                              Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 19 of 22 PageID #: 137




                                                                             18
Washington   1883     It shall be unlawful for any person or persons to sell or offer for sale   An Act to prohibit the sale of toy   None (adopted provision in 1889)
             [1889]   any toy pistols within this state, and that every person who shall sell,   pistols, fire arms and tobacco to
                      give, furnish, or cause to be furnished to any person under the age of     children under the age of sixteen
                      sixteen years, any pistol, toy pistol, or other pocket weapon in which     years, § 1, 1883 WASH. LAWS 67,
                      explosives may be used, shall be deemed guilty of a misdemeanor, and       67.
                      upon conviction shall be fined in any sum not less than five nor more
                      than twenty-five dollars.                                                  Act of Nov. 26, 1883, § 1, in 2
                                                                                                 WILLIAM LAIR HILL, ED., THE
                                                                                                 GENERAL STATUTES AND CODES
                                                                                                 OF THE STATE OF WASHINGTON
                                                                                                 698 (1891).

                                                                                                 (Although the Act was passed in
                                                                                                 1883, Washington was not
                                                                                                 admitted as a State until 1889.
                                                                                                 The text is taken from the code.)
                                                                                                                                                                         Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 20 of 22 PageID #: 138




                                                                               19
West Virginia   1882   Be it enacted by the Legislature of West Virginia:                             An Act amending and re-enacting    None (adopted provision in 1986)
                                                                                                      section seven of chapter one
                       1. That section seven of chapter one hundred and forty-eight of the code       hundred and forty-eight of the
                       of West Virginia be, and the same is hereby, amended and re-enacted so         code of West Virginia, and
                       as to read as follows:                                                         adding sections thereto for the
                                                                                                      punishment of unlawful
                            7. If a person carry about his person any revolver or other pistol,       combinations and conspiracies to
                            dirk, bowie knife, razor, slung shot, billy, metallic or other false      injury persons or property, ch.
                            knuckles, or any other dangerous or deadly weapon of like kind or         135, § 1, 1882 W. VA. ACTS 421,
                            character, he shall be guilty of a misdemeanor, and fined not less        421-22.
                            than twenty-five nor more than two hundred dollars, and may, at
                            the discretion of the court, be confined in jail not less than one, nor
                            more than twelve months; and if any person shall sell or furnish
                            any such weapon as is hereinbefore mentioned to a person whom
                            he knows, or has reason, from his appearance or otherwise, to
                            believe to be under the age of twenty-one years, he shall be
                            punished as hereinbefore provided; but nothing herein contained
                            shall be so construed as to prevent any person from keeping or
                            carrying about his dwelling house or premises any such revolver
                            or other pistol, or from carrying same from the place of purchase
                            to his dwelling-house, or from his dwelling house to any place
                            where repairing is done, to have it repaired, and back again. And
                            if upon the trial of an indictment for carrying any such pistol, dirk,
                            razor, or bowie-knife the defendant shall prove to the satisfaction
                            of the jury that he is a quiet and peaceable citizen, of good
                            character and standing in the community in which he lives, and at
                            the time he was found with such pistol, dirk, razor or bowie knife,
                            as charged in the indictment, he had good cause to believe and did
                            believe that he was, in danger of death or great bodily harm at the
                            hands of another person, and that he was, in good faith, carrying
                            such weapon for self defense and for no other purpose, the jury
                            shall find him not guilty.
                                                                                                                                                                            Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 21 of 22 PageID #: 139




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Wisconsin   1883    Section 1. It shall be unlawful for any minor, within this state, to go        An Act to prohibit the use and       None (adopted provision in 1998)
                    armed with any pistol or revolver, and it shall be the duty of all sheriffs,   sale of pistols and revolvers, ch.
                    constables, or other public police officers, to take from any minor any        329, §§ 1-2, 1883 WIS. LAWS
                    pistol or revolver, found in his possession.                                   290, 290.

                    Section 2. It shall be unlawful for any dealer in pistols or revolvers, or
                    any other person, to sell, loan, or give any pistol or revolver to any
                    minor in this state.

Wyoming     1890*   It shall be unlawful for any person to sell, barter or give to any other       Session Laws of 1890, ch. 73,        “The right of citizens to bear arms in
                    person under the age of twenty-one years any pistol, dirk or bowie             § 98, in J.A. VAN ORSDEL &           defense of themselves and of the state
                    knife, slung-shot, knucks or other deadly weapon that can be worn or           FENIMORE CHATTERTON, EDS.,           shall not be denied.” WYO. CONST.
                    carried concealed upon or about the person, or to sell, barter or give to      REVISED STATUTES OF WYOMING          art. I, § 24 (1889).
                    any person under the age of sixteen years any cartridges manufactured          § 5052, at 1253 (1899).
                    and designed for use in a pistol; and any person who shall violate any of
                    the provisions of this section shall be fined in any sum not more than
                    fifty dollars.
                                                                                                                                                                                 Case 1:22-cv-00080-TSK Document 24-2 Filed 12/12/22 Page 22 of 22 PageID #: 140




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